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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

YENMA PRENDERGAST, on behalf of )
Herself and other similarly situated )
                                     )
                     Plaintiff,      )
                                     )
       v.                            )
                                     )
GENPACT COLLECTIONS, LLC and )
SYNCHRONY BANK,                      )               JURY TRIAL DEMAND
                                     )
                     Defendants.     )

                                COMPLAINT-CLASS ACTION

       Plaintiff Yenma Prendergast, individually and on behalf of all others similarly situated,

allege the following upon information and belief based upon personal knowledge:

                                    NATURE OF THE CASE

       1.      Plaintiff brings this action individually and on behalf of all others similarly

situated, seeking damages and any other available legal or equitable remedies resulting from the

illegal actions of Genpact Collections, LLC and Synchrony Bank (“Defendants”) in contacting

Plaintiff on her cellular telephone in violation of the Telephone Consumer Protection Act, 47

U.S.C. § 227 et seq. (“TCPA”). These calls are harassing, constitute a nuisance, a trespass to

chattels, and are an invasion of privacy.

                                        JURISDICTION & VENUE

       2.      Jurisdiction is proper under 28 U.S.C. § 1332(d)(2) because Plaintiff, a resident of

Illinois, seeks relief on behalf of a Class, which will result in at least one class member

belonging to a different state than that of Defendants, companies with their principal places of

business and/or State of Incorporation in New York State, Delaware, and Utah. Plaintiff also seek



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up to $1,500.00 in damages for each call in violation of the TCPA, which, when aggregated

among a proposed class in the thousands, exceeds the $5,000,000.00 threshold for federal court

jurisdiction. Therefore, both diversity jurisdiction and the damages threshold under the Class

Action Fairness Act of 2005 (“CAFA”) are present, and this Court has jurisdiction.

       3.      Venue is proper in the United States District Court for the Northern District of

Illinois pursuant to 18 U.S.C. 1391(b) because Defendants do business within the State of

Illinois, within the County of Cook and therefore in the Northern District of California.

                                                PARTIES

       4.      Plaintiff Yenma Prendergrast (“Plaintiff”) is a natural person residing in Chicago,

Illinois, and is a “person” as defined by 47 U.S.C. § 153(39).

       5.      Defendant Genpact Collections, LLC (“Defendant Genpact”) is a company in the

business of collecting debt; and is a “person” as defined by 47 U.S.C. § 153(39).

       6.      Defendant Synchrony Bank (“Defendant Synchrony”) is a company in the

business of lending money to consumers, servicing mortgages, and collecting thereon and is a

“person” as defined by 47 U.S.C. § 153(39).

                                 FACTUAL ALLEGATIONS

   A. Factual Allegations Regarding Defendants

       7.      Defendant Synchrony is, in part, in the business of offering and servicing a wide

range of store-branded credit cards, including the Amazon Credit Card, to consumers throughout

the nation.

       8.      Defendant Genpact offers outsourced collection services to financial institutions,

including Defendant Synchrony.




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       9.      Defendant Synchrony retains Defendant Genpact to service certain delinquent

accounts that Defendant Synchrony holds or owns, including placing automated calls using an

ATDS or artificial or prerecorded voice to consumers who have fallen behind in their payments.

       10.     Defendant Synchrony knows that Defendant Genpact places collection calls using

an ATDS or artificial or prerecorded voice. Defendant Synchrony directs the manner and means

by which Genpact places the calls.

       11.     During the collection calls that Defendant Genpact initiates, the operator

identifies him or herself as affiliated with the Synchrony Bank collections department.

       12.     Defendant Synchrony ratifies Defendant Genpact’s actions by accepting the

benefits of Defendant Genpact’s calls through continuing to use Genpact to service these

accounts despite knowledge that it is using this equipment and messages, and accepting

payments on the accounts generated by Defendant Genpact’s telephone solicitation activities.

       13.     Defendants make calls using an ATDS or artificial or prerecorded voice to cellular

telephones whose owners have not provided prior express written consent to receive such calls.

Plaintiff received such calls without providing any type of prior consent.

       14.     Defendant also fails to cease such improper calls even after it has been told not to

call the customer using an ATDS and/or artificial or prerecorded voice. Plaintiff received such

calls even after telling Defendant to cease calling her.

B.     Defendant Synchrony Is Liable for Calls Placed on Its Behalf

       15.     Creditors are strictly liable for TCPA violations of the debt collection agencies

that make illegal calls on their behalf. Because Synchrony, a creditor, hired Genpact to service

these accounts, including make calls, Synchrony is liable for these calls.




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        16.     Alternatively, Defendant Synchrony is vicariously liable for the conduct of

Defendant Genpact under ordinary principles of agency because Defendant Synchrony directed

or authorized Genpact’s conduct constituting the statutory violations alleged herein.

        17.     Defendant Synchrony established, approved, or ratified Defendant Genpact’s

policies and practices.

        18.     Defendant Synchrony accepted the benefits of Defendant Genpact and other

vendors’ illegal calls by accepting payments from debtors generated by the illegal calls, in spite

of knowledge that the payments were generated through the making of illegal calls such as those

being challenged here.

        19.     Defendant Synchrony cloaked Defendant Genpact with apparent/implied

authority to act on its behalf, including but not limited to authorizing Genpact to make debt

collection calls on its behalf and to use its name in its collection efforts. Alternatively, Genpact

made these calls, and Synchrony operators/agents serviced them, in which case Synchrony would

have participated in the illegal calls.

        20.     Defendant Synchrony had the authority and responsibility to prevent or correct

the unlawful calling practices of Defendant Genpact and formulated, directed, controlled, and

participated in the acts and practices of Genpact that violated the TCPA, including the acts and

practices set forth in this Complaint.

        21.     Under ordinary principles of vicarious liability, Defendant Synchrony is liable for

the TCPA violations alleged above because it is directly involved in, authorized, or ratified the

Genpact operations that violated the TCPA




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C.      Factual Allegations Regarding Plaintiff

        22.     Synchrony or Genpact on behalf of Synchrony as either a first party collector or

third party collector, has called Plaintiff’s cellular telephone numerous times within the four

years immediately preceding the filing of this complaint.

        23.     Plaintiff has received numerous calls to her cellular telephone from several

different telephone numbers belonging to Synchrony or Genpact. For example, in or around

December of 2017, Plaintiff has received at least five telephone calls from a number appearing

on her caller ID as 877-843-7934; at least one telephone call from a number appearing on her

caller ID as 888-392-7917; and at least one telephone call from a number appearing on her caller

ID as 844-370-0308.

        24.     For some or all of the calls, Plaintiff would answer the call and hear “dead air,”

even after saying “hello” multiple times.

        25.     Plaintiff did not consent to any of these calls.

        26.     During on such call in early December 2017, Plaintiff was able to speak with a

representative of Synchrony, or Genpact on behalf of Synchrony. Plaintiff told the representative

that she was at work and that Defendants needed to stop calling her.

        27.     Despite this conversation, mere days after being instructed to stop calling

Plaintiff, Synchrony, or Genpact on behalf of Sycnhrony, began calling Plaintiff’s cell phone

again. Defendants have placed at least five telephone calls to Plaintiff’s cellular telephone after

being instructed to stop calling Plaintiff.

        28.     Genpact and Synchrony know all about the TCPA’s prohibitions against using an

autodialer to call cell phones. They have been sued for such violations many times. It made the

calls in spite of this knowledge.




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       29.     Plaintiff and the class have been substantially damaged by defendants’ calls. Their

privacy was improperly invaded, they were charged for the calls and they were annoyed. Mims v.

Arrow Financial Services, Inc., 132 S.Ct. 740 (Jan. 18, 2012) (discussing congressional findings

of consumer “outrage” as to autodialed and prerecorded calls); Soppet v. Enhanced Recovery

Co., LLC, 679 F.3d 637 (7th Cir. 2012) (stating that unwanted cell phone robocall recipients are

damaged because they are charged “out of pocket” cellular airtime minutes).

                                   CLASS ALLEGATIONS

       30.     Plaintiff brings this action individually and on behalf of all others similarly

situated, as members of the proposed class (hereafter the “Class”) defined as follows:

               All persons within the United States to whom (a) Defendant
               Synchrony or a third party acting on Defendant Synchrony’s behalf
               (b) in an effort to collect payment on debts alleged owed to
               Defendant Synchrony, (c) placed calls (d) to their cellular
               telephone (e) through the use of any automatic telephone dialing
               system or an artificial or prerecorded voice (f) within the four
               years prior to the filing of this Complaint.

       31.     Plaintiff also brings this action on behalf of the following Subclass defined as

follows:

               All persons within the United States to whom: (a) Defendant
               Genpact, (b) in an effort to collect payment on mortgages owned
               by Defendant Synchrony, (c) placed calls (d) to their cellular
               telephone numbers (e) through the use of any automatic telephone
               dialing system or an artificial or prerecorded voice (f) within the
               four years prior to the filing of this Complaint.


       32.     Plaintiff represents, and is a members of, the Class and Subclass. Defendants, any

entity in which Defendants have a controlling interest or that has a controlling interest in

Defendants, and Defendants’ employees and agents are excluded from the Class and Subclass.

Also excluded are the judge to whom this case is assigned and any member of the judge’s



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immediate family.

       33.     Plaintiff does not know the number of members in the Class and Subclass, but

believe the Class and Subclass members number in the thousands, if not more. Thus, this matter

should be certified as a Class Action to assist in the expeditious litigation of the matter.

       34.     The Class and Subclass are so numerous that the individual joinder of all of its

members is impractical. While the exact number and identities of the Class and Subclass

members are unknown to Plaintiff at this time and can only be ascertained through appropriate

discovery, Plaintiff is informed and believe and thereon allege that the Class and Subclass

include thousands of members. Plaintiff alleges that the Class and Subclass members may be

ascertained by the records maintained by Defendants.

       35.     Plaintiff and members of the Class and Subclass were harmed by the acts of

Defendants in at least the following ways: Defendants illegally contacted Plaintiff and Class and

Subclass members via their cellular telephones, thereby causing Plaintiff and Class and Subclass

members to incur certain charges or reduced telephone time for which Plaintiff and Class and

Subclass members had previously paid by having to retrieve or administer messages left by

Defendants during those illegal calls, and invading the privacy of said Plaintiff and Class and

Subclass members. Additionally, these illegal calls tied up the cell phones of Plaintiff and the

class, which had the purpose and effect of preventing them from using their phones for legitimate

purposes.

       36.     Common questions of fact and law exist as to all members of the Class and

Subclass which predominate over any questions affecting only individual members of the Class

and Subclass. These common legal and factual questions, which do not vary between Class and

Subclass members, and which may be determined without reference to the individual




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circumstances of any Class and Subclass members, include, but are not limited to, the following:

               a.      As to Plaintiff and the Class and Subclass, whether Defendants and/or

their affiliates, agents, and/or other persons or entities acting on Defendants’ behalf violated 47

U.S.C. § 227(b)(1)(A) by making any call, except for emergency purposes, to a cellular

telephone number using an ATDS or artificial or prerecorded voice;

               b.      As to Plaintiff and the Class and Subclass, whether Defendants and/or

their affiliates, agents, and/or other persons or entities acting on Defendants’ behalf knowingly

and/or willfully violated 47 U.S.C. § 227(b)(1)(A) by making any call, except for emergency

purposes, to a cellular telephone number using an ATDS or artificial or prerecorded voice, thus

entitling Plaintiff and the Class and Subclass to treble damages;

               c.      Whether Defendants are liable for ATDS generated and/or artificial or

prerecorded voice calls attempting to collect debt owed to Defendants made by Defendants’

affiliates, agents, and/or other persons or entities acting on Defendants’ behalf; and

               d.      Whether Defendants and/or their affiliates, agents, and/or other persons or

entities acting on Defendants’ behalf should be enjoined from violating the TCPA in the future.

       37.     As persons who received numerous collection calls from Defendants using an

automatic telephone dialing system or an artificial or prerecorded voice, without their prior

express consent, Plaintiff is asserting claims that are typical of the Class and Subclass.

       38.     Plaintiff will fairly and adequately protect the interests of the members of the

Class and Subclass. Plaintiff has retained attorneys experienced in the prosecution of class

actions, including consumer class actions and TCPA class actions. Plaintiff and her counsel are

committed to prosecuting this action vigorously on behalf of the Class and Subclass, and have

the financial resources to do so. Neither Plaintiff nor her counsel have interests that are contrary




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to or that conflict with those of the proposed Class and Subclass.

       39.     A class action is superior to other available methods of fair and efficient

adjudication of this controversy, since individual litigation of the claims of all Class and Subclass

members is impracticable. Even if every Class and Subclass member could afford individual

litigation, the court system could not. It would be unduly burdensome to the courts in which

individual litigation of numerous issues would proceed. Individualized litigation would also

present the potential for varying, inconsistent, or contradictory judgments and would magnify the

delay and expense to all parties and to the court system resulting from multiple trials of the same

complex factual issues. By contrast, the conduct of this action as a class action presents fewer

management difficulties, conserves the resources of the parties and of the court system, and

protects the rights of each Class and Subclass member.

       40.     Defendants have engaged in a common course of conduct toward Plaintiff and

Class and Subclass members. The common issues arising from this conduct that affect Plaintiff

and Class and Subclass members predominate over any individual issues. Adjudication of these

common issues in a single action has important and desirable advantages of judicial economy.

       41.     The prosecution of separate actions by individual Class and Subclass members

would create a risk of adjudications with respect to them that would, as a practical matter, be

dispositive of the interests of the other Class and Subclass members not parties to such

adjudications or that would substantially impair or impede the ability of such non-party Class

and Subclass members to protect their interests.

       42.     Defendants have acted or refused to act in respects generally applicable to the

Class and Subclass, thereby making final injunctive relief and corresponding declaratory relief

with respect to the Class and Subclass appropriate on a class-wide bases. Moreover, on




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information and belief, Plaintiff alleges that the automated calls made by Defendants and/or their

affiliates, agents, and/or other persons or entities acting on Defendants’ behalf that are

complained of herein are substantially likely to continue in the future if an injunction is not

entered.

                                 FIRST CAUSE OF ACTION
                     Violations of the Telephone Consumer Protection Act
                                    47 U.S.C. § 227(b)(1)(A)

       43.     Plaintiff repeats and incorporates by reference into this cause of action the

allegations set forth in the preceding paragraphs.

       44.     The foregoing acts and omissions of Defendants and/or their affiliates, agents,

and/or other persons or entities acting on Defendants’ behalf constitute numerous and multiple

violations of the TCPA, 47 U.S.C. § 227(b)(1)(A), by making calls, except for emergency

purposes, to the cellular telephone numbers of Plaintiff and Class and Subclass members using

an ATDS and/or artificial or prerecorded voice.

       45.     As a result of Defendants’ and/or their affiliates, agents, and/or other persons or

entities acting on Defendants’ behalf’s violations of 47 U.S.C. § 227(b)(1)(A), Plaintiff and

Class and Subclass members presumptively are entitled to an award of $500.00 in statutory

damages for each and every call to their cellular telephone numbers using and ATDS and/or

artificial or prerecorded voice in violation of the statute, pursuant to 47 U.S.C. § 227(b)(3)(B).

       46.     Plaintiff and Class and Subclass members are also entitled to and seek injunctive

relief prohibiting Defendants and/or their affiliates, agents, and/or other persons or entities

acting on Defendants’ behalf from violating the TCPA, 47 U.S.C. § 227(b)(1)(A), by making

calls, except for emergency purposes, to any cellular telephone numbers using an ATDS and/or

artificial or prerecorded voice in the future.




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                                SECOND CAUSE OF ACTION
                             Knowing and/or Willful Violations of the
                              Telephone Consumer Protection Act
                                    47 U.S.C. §227(b)(1)(A)

       47.     Plaintiff repeats and incorporates by reference into this cause of action the

allegations set forth in the preceding paragraphs.

       48.     The foregoing acts and omissions of Defendants and/or their affiliates, agents,

and/or other persons or entities acting on Defendants’ behalf constitute numerous and multiple

knowing and/or willful violations of the TCPA, 47 U.S.C. § 227(b)(1)(A), by making calls,

except for emergency purposes, to the cellular telephone numbers of Plaintiff and Class and

Subclass members using an ATDS and/or artificial or prerecorded voice.

       49.     As a result of Defendants’ and/or their affiliates, agents, and/or other persons or

entities acting on Defendants’ behalf’s knowing and/or willful violations of the TCPA, 47

U.S.C. § 227(b)(1)(A), Plaintiff and Class and Subclass members are entitled to treble damages

of up to $1,500.00, for each and every call to their cellular telephone numbers using an ATDS

and/or artificial or prerecorded voice in violation of the statute, pursuant to 47 U.S.C. §

227(b)(3)(B) and 47 U.S.C. § 227(b)(3)(C).

       50.     Plaintiff and Class and Subclass members are also entitled to and seek injunctive

relief prohibiting Defendants and/or their affiliates, agents, and/or other persons or entities

acting on Defendants’ behalf from violating the TCPA, 47 U.S.C. § 227(b)(1)(A), by making

calls, except for emergency purposes, to any cellular telephone numbers using an ATDS and/or

artificial or prerecorded voice in the future.

       51.     Plaintiff and Class and Subclass members are also entitled to an award of

attorneys’ fees and costs.




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                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiff, on her own behalf and on behalf of the members of the Class,

pray for judgment against Defendants as follows:

       A.      Certification of the proposed Class and Subclass;

       B.      Appointment of Plaintiff as representative of the Class and Subclass;

       C.      Appointment of the undersigned counsel as counsel for the Class and Subclass;

        D.      A declaration that Defendants and/or their affiliates, agents, and/or other related
entities’ actions complained of herein violate the TCPA;

        E.      An order enjoining Defendants and/or their affiliates, agents and/or other related
entities, as provided by law, from engaging in the unlawful conduct set forth herein;

       F.      An award to Plaintiff and the Class and Subclass of damages, as allowed by law;

       G.     An award to Plaintiff and the Class and Subclass of attorneys’ fees and costs, as
allowed by law and/or equity;

       H.      Leave to amend this Complaint to conform to the evidence presented at trial;

       I.      Prejudgment interest; and,

       J.      Orders granting such other and further relief as the Court deems necessary, just,
and proper.

                                     DEMAND FOR JURY

       52.            Plaintiff demands a trial by jury for all issues so triable.



                                              /s/ David M. Marco


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